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10

11                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA
12     APOTHIO, LLC,                            No. 1:20-CV-00522-NONE-JLT
13                      Plaintiff,
                                                JOINT OPPOSITION TO
14            v.                                REQUESTS FOR JUDICIAL
                                                NOTICE FILED BY
15     KERN COUNTY; KERN COUNTY                 DEFENDANTS KERN
       SHERIFF’S OFFICE; CALIFORNIA             COUNTY, KERN COUNTY
16     DEPARTMENT OF FISH AND WILDLIFE;         SHERIFF’S OFFICE, DONNY
       DONNY YOUNGBLOOD; JOSHUA                 YOUNGBLOOD AND JOSHUA
17     NICHOLSON; CHARLTON H. BONHAM;           NICHOLSON (ECF NO. 20)
       JOHN DOES #1 THROUGH #10,                AND DEFENDANTS
18     UNKNOWN AGENTS OF THE KERN               CALIFORNIA DEPARTMENT
       COUNTY SHERIFF’S OFFICE; JOHN            OF FISH AND WILDLIFE
19     DOES #11 THROUGH #20, UNKNOWN            AND CHARLTON H.
       AGENTS OF THE CALIFORNIA FISH            BONHAM (ECF NO. 22)
20     AND WILDLIFE DEPARTMENT,

21                      Defendants.

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1                                         INTRODUCTION

2            Apothio does not oppose Defendants’ requests that the Court take judicial notice of

3     the existence of the Restricted Materials Permits (the “Permits”), but opposes any judicial

4     notice of the accuracy, content, or purpose of those Permits. The Permits relate to certain

5     maps and corresponding permit numbers reproduced in the Complaint to “identif[y] the

6     location where Apothio was permitted to plant and cultivate its hemp field.” Compl. ¶¶ 78,

7     86–87. As alleged in the Complaint, “[i]n each of these permits, the County acknowledged

8     and certified that Apothio was growing hemp.” ¶ 87.

9            As Defendants effectively concede, it would be improper under controlling Ninth

10    Circuit precedent for the Court to take judicial notice of the accuracy, content, and purpose

11    of those Permits or of Kern County Agricultural Commissioner Glenn Fankhauser’s

12    testimony concerning the purpose of those Permits. Nonetheless, Defendants improperly

13    muddy the waters by advancing arguments in their briefs and Commissioner Fankhauser’s

14    accompanying affidavit as to the accuracy of the substance, content, and alleged purpose

15    of the Permits.1 Specifically, as to the purpose of the Permits, Defendants assert that the

16    “documents are relevant to show that, on their face, they are not a ‘map permit’ but rather

17    restricted material permits which identify where pesticide use will be allowed.” ECF No.

18    22 at 2. Likewise, Commissioner Fankhauser purports to testify that the “purpose” of the

19    Permits is “for the grower to be able to use and report the usage of any pesticide on a crop

20    and to record the location of the proposed use.” ECF No. 20 at 2–3; ECF. No. 20-1 ¶ 4

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22      The very same Permits that the Kern County Sheriff’s Office (“KCSO”) asks the Court
      to judicially notice were the subject of a prior Apothio public records request. In response
23    to that request, the Kern County Agricultural Commissioner refused to produce the
      documents on the purported basis of an ongoing law enforcement investigation.

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1     (same).

2               Because Defendants’ self-serving assertions contradict factual allegations in the

3     Complaint concerning Kern County’s knowledge that Apothio was legally cultivating

4     hemp, it would be improper for the Court to take judicial notice of the disputed facts

5     advanced by Defendants in connection with their motions to dismiss. Fed. R. Evid. 201

6     (“The court may judicially notice a fact that is not subject to reasonable dispute . . .”

7     (emphasis added)). Indeed, it would be reversible error for the Court to elevate the truth of

8     facts that favor Defendants based on evidence beyond Apothio’s pleadings over the

9     allegations in the Complaint, which for purposes of a motion to dismiss, must be deemed

10    true. For these reasons and those elaborated below, Apothio does not oppose Defendants’

11    requests that the Court take judicial notice of the existence but not the accuracy, contents,

12    or purpose of the Permits.

13                                   FACTUAL BACKGROUND

14              In connection with moving to dismiss Apothio’s Complaint (ECF No. 1),

15    Defendants Kern County, Kern County Sheriff’s Office (“KCSO”), Donny Youngblood

16    and Joshua Nicholson (the “Kern County Defendants”) and Defendants California

17    Department of Fish and Wildlife and Charlton H. Bonham (the “CDFW Defendants,” and

18    together with the Kern County Defendants, “Defendants”) filed requests for judicial notice

19    (the “Requests for Judicial Notice”). ECF Nos. 20 & 22. The Requests for Judicial Notice

20    ask the Court to take judicial notice of “Restricted Materials Permits” (the “Permits”)

21    related to certain maps and corresponding permit numbers identified in the Complaint. See,

22    e.g., Compl. ¶¶ 78, 87. Defendants explicitly state that the Court is not requested to take

23    judicial notice of the “accuracy of the restricted materials permit[s], but rather simply their


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1     existence.” See ECF No. 20 at 3.

2            As alleged in the Complaint, six maps with corresponding permit numbers—which

3     are themselves reproduced in the Complaint (¶ 87)—“identified the location where

4     Apothio was permitted to plant and cultivate its hemp field.” Id. ¶ 78; see also id. ¶ 86

5     (“[T]he Kern County Agricultural Commissioner issued several additional map permits,

6     which identified the precise locations of the fields where Apothio’s hemp would be

7     planted.”). “These map permits were ‘generated by the Kern County Agricultural

8     Commissioner/Sealer’ between the fall of 2018 and the spring of 2019.” Id. ¶ 86.

9     “Specifically, a Kern County map permit was issued for each of the farmers with whom

10    Apothio contracted to grow the hemp plants. In each of these permits, the County

11    acknowledged and certified that Apothio was growing hemp.” Id. ¶ 87.

12           In the Requests for Judicial Notice, Defendants ask the Court to “take judicial

13    notice of the actual permits as they are part of the maps that [P]laintiff has attached to the

14    [C]omplaint.” ECF No. 20 at 3; see also ECF No. 22 at 2 (“[D]efendants State of California,

15    by and through California Department of Fish and Wildlife, and Charlton H. Bonham,

16    Director, (State Defendants) respectfully request that the Court take judicial notice of the .

17    . . Restricted Material Permits, issued by the Kern County Agricultural Department.”).

18    Defendants argue that the Court may take judicial notice of the Permits pursuant to Federal

19    Rule of Evidence 201 since they are “not subject to dispute” as they “can be accurately and

20    readily determined from sources whose accuracy cannot reasonably be questioned.” ECF

21    No. 20 at 2; see also ECF No. 22 at 2–3. Defendants also argue that the Permits “are

22    relevant because they are integral to the maps [P]laintiff has included as part of the

23    [C]omplaint.” ECF No. 20 at 2; see ECF No. 22 at 3 (“The documents are also proper for


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1     judicial notice under the ‘incorporation-by-reference’ doctrine. The documents here were

2     specifically referenced in the complaint.”).

3               Apothio hereby responds to the Requests for Judicial Notice jointly because they

4     advance substantially the same arguments, largely in reliance on the Declaration of Kern

5     County Agricultural Commissioner Glenn Fankhauser (ECF Nos. 20-1 & 22-1).

6                                             ARGUMENT

7               Apothio does not oppose Defendants’ request that the Court take judicial notice of

8     the existence but not the accuracy, content, or purpose of the Permits related to the maps

9     referenced in the Complaint. Defendants explicitly ask the Court to take judicial notice of

10    the “existence” of the Permits and not their “accuracy,” effectively conceding that the

11    contents and significance of the Permits are not a proper subject for judicial notice. Apothio

12    agrees.

13              While a Court may take judicial notice of matters of public record, it “cannot

14    take judicial notice of disputed facts contained in such public records.” Khoja v. Orexigen

15    Therapeutics, Inc., 899 F.3d 988, 999 (9th Cir. 2018); see United States v. S. California

16    Edison Co., 300 F. Supp. 2d 964, 974 (E.D. Cal. 2004) (“[A] court can

17    only take judicial notice of the existence of those matters of public record (the existence of

18    a motion or of representations having been made therein) but not of the veracity of the

19    arguments and disputed facts contained therein.”). Indeed, pursuant to Federal Rule of

20    Evidence 201, it is a predicate for judicial notice that an adjudicative fact is “not subject to

21    reasonable dispute.” Fed. R. Evid. 201; see Lee v. City of Los Angeles, 250 F.3d 668, 689

22    (9th Cir. 2001) (“[T]he district court also erred by taking judicial notice of disputed

23    matters”).


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1            Thus, Defendants’ attempts to testify through their Requests for Judicial Notice and

2     Commissioner Fankhauser’s affidavit (ECF Nos. 20-1 & 22-1) are improper. Specifically,

3     the CDFW Defendants’ contention that the “documents are relevant to show that, on their

4     face, they are not a ‘map permit’ but rather restricted material permits which identify where

5     pesticide use will be allowed” is a disputed fact that is not a proper subject for judicial

6     notice. ECF No. 22 at 2. Likewise, Commissioner Fankhauser’s testimony regarding the

7     “purpose” of the Permits is not a proper subject for judicial notice. See ECF No. 20-1 ¶ 4;

8     ECF No. 22-1 ¶ 4; ECF No. 20 at 2–3.

9            As alleged in the Complaint, the six maps with corresponding permit numbers—

10    which are themselves reproduced in the Complaint (¶ 87)—“identified the location where

11    Apothio was permitted to plant and cultivate its hemp field.” Compl. ¶ 78; see also id. ¶ 86

12    (“[T]he Kern County Agricultural Commissioner issued several additional map permits,

13    which identified the precise locations of the fields where Apothio’s hemp would be

14    planted.”). Apothio further alleges that in each of the Permits, “the County acknowledged

15    and certified that Apothio was growing hemp.” Id. ¶ 87. To the extent Defendants challenge

16    Apothio’s allegations, including that the maps and corresponding Permits “identified the

17    location where Apothio was permitted to plant and cultivate its hemp field,” and that “the

18    County acknowledged and certified that Apothio was growing hemp,” such allegations are

19    disputed issues of fact, entitled to the presumption of truth on Defendants’ motions to

20    dismiss. 2 Therefore, while the Court may take judicial notice of the existence of the

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22      Indeed, the documents support Apothio’s position, not Defendants’. Each of the six
      maps with corresponding Permits shows a portion of the agriculture that was designated
23    for cultivation of “hemp/cannabis” or “industrial hemp.” See, e.g., ECF No. 20-2 at 2
      (Lot 20 (“hemp/cannabis”)).

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1     Permits, it may not take judicial notice of the accuracy, content, or purpose of the Permits

2     at this stage of the litigation, particularly to the extent the purported “purpose” of the

3     Permits is informed by Defendants’ factual assertions that contradict the allegations in the

4     Complaint. See Lee, 250 F.3d at 688 (“More importantly, the district court’s decision to

5     dismiss plaintiffs’ federal claims was rooted in defendants’ factual assertions. In granting

6     defendants’ motions, the court assumed the existence of facts that favor defendants based

7     on evidence outside plaintiffs’ pleadings, took judicial notice of the truth of disputed

8     factual matters, and did not construe plaintiffs’ allegations in the light most favorable to

9     plaintiffs. We therefore also reverse the district court’s dismissal of plaintiffs’ § 1983

10    claims alleging violations of the First, Fourth, and Fourteenth Amendments on these

11    independent grounds.”); see also Khoja, 899 F.3d at 1000 (“improper” for a court to take

12    judicial notice of a document when the “substance” of the document ‘is subject to varying

13    interpretations’” (quoting Reina-Rodriguez v. United States, 655 F.3d 1182, 1193 (9th Cir.

14    2011))); id. at 1003 (“[I]t is improper to assume the truth of an incorporated document if

15    such assumptions only serve to dispute facts stated in a well-pleaded complaint. This

16    admonition is, of course, consistent with the prohibition against resolving factual disputes

17    at the pleading stage.”); Bryant v. Carleson, 444 F.2d 353, 357 (9th Cir. 1971) (taking

18    judicial notice of the fact that defendant filed an affidavit but not taking judicial notice of

19    the contents of the affidavit as being true); Del Puerto Water Dist. v. U.S. Bureau of

20    Reclamation, 271 F. Supp. 2d 1224, 1234 (E.D. Cal. 2003) (“Judicial Notice is taken of the

21    existence and authenticity of the public and quasi public documents listed [including water

22    permit applications]. To the extent their contents are in dispute, such matters of controversy

23    are not appropriate subjects for judicial notice.”).


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1                                           CONCLUSION

2             For the foregoing reasons, Apothio does not oppose Defendants’ requests that the

3      Court take judicial notice of the existence but not the accuracy, content, or purpose of the

4      Restricted Materials Permits.

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       Dated: July 13, 2020
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